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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

___________________________________
HON. BENNIE G. THOMPSON,             )
 in his personal capacity,           )
HON. KAREN R. BASS,                  )
 in her personal capacity,           )
HON. STEPHEN I. COHEN,               )
 in his personal capacity,           )   Civil Case No. 1:21-CV-400-APM
HON. VERONICA ESCOBAR,               )   Honorable Amit P. Mehta
 in her personal capacity,           )
HON. PRAMILA JAYAPAL,                )
 in her personal capacity,           )   DEFENDANT OATH KEEPERS
HON. HENRY C. JOHNSON, JR.,          )   MOTION TO DISMISS
 in his personal capacity,           )   PURSUANT TO
HON. MARCIA C. KAPTUR,               )   Fed.R.Civ.P. 12(b)(1) & (6)
 in her personal capacity,           )
HON. BARBARA J. LEE,                 )
 in her personal capacity,           )
HON. JERROLD NADLER,                 )
 in his personal capacity,           )
HON. MAXINE WATERS,                  )
 in her personal capacity, and       )
HON. BONNIE M. WATSON COLEMAN,)
 in her personal capacity            )
                                     )
        Plaintiffs,                  )
v.                                   )
                                     )
DONALD J. TRUMP,                     )
 solely in his personal, capacity,   )
RUDOLPH W. GIULIANI,                 )
OATH KEEPERS,                        )
PROUD BOYS INTERNATIONAL, L.L.C.)
WARBOYS LLC, and                     )
ENRIQUE TARRIO                       )
                                     )
        Defendants.                  )
__________________________________ )
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Janette Louard (pro hac vice                              Kerry Lee Morgan, 424566
  motion to befiled)                                      Pentiuk, Couvreur & Kobiljak, P.C.
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_________________________________________/

                 DEFENDANT OATH KEEPERS MOTION TO DISMISS
                     PURSUANT TO Fed.R.Civ.P. 12(b)(1) & (6)

       Defendant Oath Keepers respectfully moves the Court to dismiss the Plaintiffs’ Amended

Complaint under Federal Rules of Civil Procedure12(b)(1), and dismiss all claims for failure to

state a claim upon which relief can be granted under Federal Rules of Civil Procedure12(b)(6).

       The undersigned counsel certifies that counsel communicated in writing on May 25,

2021, with opposing counsel, explaining the nature of the relief to be sought by way of this




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motion and seeking concurrence in the relief; opposing counsel thereafter expressly denied

concurrence.

       Pursuant to LCvR 78.1, defendant Oath Keepers requests a remote oral hearing on its

Motion.

Dated: May 26, 2021.

                                         /s/ Kerry Lee Morgan
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 in her personal capacity,           )
HON. PRAMILA JAYAPAL,                )
 in her personal capacity,           )   DEFENDANT OATH KEEPERS
HON. HENRY C. JOHNSON, JR.,          )   STATEMENT OF POINTS AND
 in his personal capacity,           )   AUTHORITIES IN SUPPORT OF
HON. MARCIA C. KAPTUR,               )   ITS MOTION TO DISMISS
 in her personal capacity,           )
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WARBOYS LLC, and                     )
ENRIQUE TARRIO                       )
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__________________________________ )
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Civil Case No. 1:21-CV-400-APM
Honorable Amit P. Mehta
Thompson, et al, v. Trump, et al.

Certificate required by LCvR 26.1 of the Local Rules of the United States District Court for the

District of Columbia:

I, the undersigned, counsel of record for defendant Oath Keepers, certify that to the best of my

knowledge and belief, the following are parent companies, subsidiaries, affiliates, or companies

which own at least 10% of the stock of Oath Keepers which have any outstanding securities in

the hands of the public.

NONE

These representations are made in order that judges of this Court may determine the need for

recusal.

Attorney of Record for Oath Keepers

Dated: May 26, 2021.

                                             /s/ Kerry Lee Morgan
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       Defendant Oath Keepers respectfully submits this memorandum of points and authorities

in support of its motion to dismiss with prejudice, under Rule 12(b)(1) and (6) of the Federal

Rules of Civil Procedure, the sole count of the complaint filed by plaintiffs, for lack of standing

and failure to state a claim upon which relief may be granted.

                                      I. INTRODUCTION

       Plaintiffs bring a single count complaint under 42 USC 1985(1) alleging that on and

before January 6, 2021, the defendants Donald J. Trump, Rudolph W. Giuliani, Proud Boys, and

Oath Keepers conspired to incite an assembled crowd to march upon and enter the Capitol of the

United States. They further allege that defendants entered the Capitol for the common purpose

of disrupting the approval by Congress of the count of votes cast by members of the Electoral

College under Article II, Section 1 and the Twelfth Amendment of the United States

Constitution. In doing so, plaintiffs contend that the defendants each intended to prevent, and

ultimately delayed, members of Congress from convening and discharging their duty

commanded by the United States Constitution to approve the results of the Electoral College in

order to elect the next President and Vice President of the United States.

       Plaintiffs allege they are all “Members” of the United States House of Representatives.

Plaintiffs, however, do not bring their Complaint as “Members”, but rather solely in his or her

“personal capacity.” (Doc. 11.1, paras. 11-21). Each plaintiff either complains that they were

present to “to discharge [his or her] constitutional duty to observe and approve the votes cast by

members of the Electoral College” or were prepared “to discharge [his or her] duties of tallying

ballots of the Electoral College and certifying the results . . . .” (Doc. 11.1, paras. 11-16 and 17-

21, respectively).




                                                 1
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       Plaintiffs specifically allege in 13 numbered paragraphs all of their allegations against

defendant Oath Keepers. Plaintiffs seek declaratory and injunctive relief, compensatory and

punitive damages, and an award of attorney fees and costs pursuant to 42 USC 1988.

       Defendant Oath Keepers is a non-partisan association of current and formerly serving

military, police, and first responders, of all genders, races and ethnicities, who pledge to fulfill

the oath all military and police take to “defend the Constitution against all enemies, foreign and

domestic.” That oath, mandated by Article VI of the Constitution itself, is to the Constitution,

and Oath Keepers declare that they will not obey unconstitutional orders, such as orders to

disarm the American people, to conduct warrantless searches, or to detain Americans as “enemy

combatants” in violation of their ancient right to jury trial.

       Oath Keepers also reaches out to currently serving veterans of all genders, races and

ethnicities to remind them of their oaths, to teach those more about the Constitution they swore

to defend, and to inspire them to defend it. Oath Keepers also includes a membership program

designated as “Associate Members”, which consists of patriotic citizens who have not served in

uniform but who serve now by supporting this mission with their Associate Membership and

volunteer activities.

                                  II. STANDARD OF REVIEW

       A. Fed. R. Civ. P. 12(b)(1).

       When facing a Rule 12(b)(1) motion to dismiss for lack of subject-matter jurisdiction, a

plaintiff “ bears the burden of showing that he has standing.” Summers v. Earth Island Inst., 555

U.S. 488, 493, 129 S.Ct. 1142, 173 L.Ed.2d 1 (2009). Just because a plaintiff makes it through

the courthouse doors on one claim does not mean that other claims can tag along; rather, a

plaintiff “must demonstrate standing for each claim he seeks to press and for each form of relief



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that is sought.” Town of Chester v. Laroe Estates, Inc., ––– U.S. ––––, 137 S.Ct. 1645, 1650, 198

L.Ed.2d 64 (2017) (citation omitted). On a motion to dismiss, plaintiffs must plead facts that,

taken as true, raise a plausible standing claim. See Humane Soc'y of the U.S. v. Vilsack, 797

F.3d 4, 8 (D.C. Cir. 2015). The Court must take all facts alleged in the complaint as true and

make all reasonable inferences in plaintiffs' favor. See Gulf Coast Mar. Supply, Inc. v. United

States, 867 F.3d 123, 128 (D.C. Cir. 2017). However, the Court “may consider materials outside

the pleadings in deciding whether to grant a motion to dismiss for lack of jurisdiction.” Id.

Sandvig v Sessions, 315 F Supp 3d 1, 10–11 (DDC, 2018).

       B. Fed. R. Civ. P. 12(b)(6).

       To survive a motion to dismiss for failure to state a claim under Rule 12(b)(6), a

complaint must “contain sufficient factual matter, accepted as true, to ‘state a claim to relief that

is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d

929 (2007)). Plausibility does not mean certainty, or that a claim is more likely to succeed than

not, but rather that the claim at issue rises “above the speculative level.” Twombly, 550 U.S. at

555, 127 S.Ct. 1955. In other words, if what plaintiffs lay out in the complaint actually happened,

is it more than merely possible that the law has been violated? However, a complaint's “mere

conclusory statements” need not be accepted as true, nor its statements of law, including

“[t]hreadbare recitals of the elements of a cause of action,” supported by nothing more. Iqbal,

556 U.S. at 678 (citing Twombly, 550 U.S. at 555); Lagayan v. Odeh, 199 F. Supp. 3d 21, 26

(D.D.C. 2016). Likewise, a court need not accept a plaintiff's legal conclusions, even if they are

dressed up as factual allegations. See Sickle v. Torres Advanced Enter. Sols., LLC, 884 F.3d

338, 345 (D.C. Cir. 2018). However, courts must accept as true all facts stated in the complaint,



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making all reasonable inferences in plaintiffs' favor. Id. Sandvig v Sessions, 315 F Supp 3d 1,

10–11 (DDC, 2018).

       While plaintiffs need not “establish a prima facie case” at this stage in the proceedings to

survive a motion to dismiss on their single 42 USC 1985(1) claim, they still must plead sufficient

facts to plausibly entitle them to relief under the elements of a Section 1981 claim. See

Alexander v. Wash. Gas Light Co., 481 F. Supp. 2d 16, 31 (D.D.C. 2006) (requiring plaintiff “to

plead facts necessary to establish a prima facie case under Section 1981”) (citing Bray v. RHT,

Inc., 748 F. Supp. 3, 5 (D.D.C. 1990)); Graman v. NASD, No. 97-1556-JR, 1998 WL 294022, *4

(D.D.C. Apr. 24, 1998) (requiring “essential element[s] of a section 1981 claim” be pled in

complaint); see also, e.g., L. XIA, et al., v. Tillerson, 2017 WL 3255167, at 35-41 (D.C. Cir.

Aug. 1, 2017) (dismissing Section 1981 claim for failure to state non-conclusory allegations of

racial discrimination in the complaint); Mesumbe v. Howard Univ., 706 F. Supp. 2d 86, 92

(D.D.C. 2010) (dismissing Section 1981 claim when element of prima facie case, intentional

discrimination, was not alleged in the complaint).

                                       III. ARGUMENT

     PLAINTIFFS’ CLAIM UNDER 42 U.S.C. § 1985(1) SHOULD BE DISMISSED.

     A. PLAINTIFFS’ COMPLAINT STATES NO CONSTITUTIONAL VIOLATION
THAT WILL SUPPORT A CLAIM UNDER 42 USC 1985(1).

       1. 42 USC 1985(1).

       42 USC 1985(1) states:

       If two or more persons in any State or Territory conspire to prevent, by force,
       intimidation, or threat, any person from accepting or holding any office, trust, or place of
       confidence under the United States, or from discharging any duties thereof; or to induce
       by like means any officer of the United States to leave any State, district, or place, where
       his duties as an officer are required to be performed, or to injure him in his person or
       property on account of his lawful discharge of the duties of his office, or while engaged in



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          the lawful discharge thereof, or to injure his property so as to molest, interrupt, hinder, or
          impede him in the discharge of his official duties;” (emphasis added).

          The core of plaintiffs’ complaint is that they have Constitutional duties which the

defendants impaired. They opaquely reference duties but to establish to the Court that a possible

amendment to the Complaint to be more specific would be futile, defendant addresses three

possibilities. Section 1985(1) speaks to three types of claims: 1) discharging any duties thereof,

i.e., duties of the office under the United States; 2) leave the place where duties as an officer are

required to be performed; and 3) injure him or her in the lawful discharge of the duty of the

office.

          In each of the three cases, there must be a duty of the office to be performed. The statute

does not create the constitutional violation. Plaintiffs must identity the basis for their duty

elsewhere. In the instant case they have plead that Article II, section 1, and the 12th Amendment

of the United States Constitutions establish the duties of their office as Members of the House of

Representatives. Alas, a review of these two Constitutional provisions reveals the existence of

no duty of the office incumbent upon any individual member of the House of Representatives.

Nor do they reveal any duty whatsoever to be performed by persons that sue in their personal

capacity.

          2. Article II, section 1.

          Article II, section 1 states in relevant part:

          The Electors shall meet in their respective States, and vote by Ballot for two Persons, of
          whom one at least shall not be an Inhabitant of the same State with themselves. And they
          shall make a List of all the Persons voted for, and of the Number of Votes for each;
          which List they shall sign and certify, and transmit sealed to the Seat of the Government
          of the United States, directed to the President of the Senate. The President of the Senate
          shall, in the Presence of the Senate and House of Representatives, open all the
          certificates, and the Votes shall then be counted. The Person having the greatest Number
          of Votes shall be the President, if such Number be a Majority of the whole Number of
          Electors appointed; and if there be more than one who have such Majority, and have an

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       equal Number of Votes, then the House of Representatives shall immediately chose by
       Ballot one of them for President; and if no Person have a Majority, then from the five
       highest on the List the said House shall in like Manner chose the President.

 The Article addresses the duty of Electors, but Electors do not include any Member of the

 House of Representatives. The Article also addresses the duties of the President of the Senate,

 but that has no relationship to any member of the House of Representatives. The Article states

 that the President of the Senate shall open the certificates and the vote be counted in the

 “presence of … the House of Representatives. This clause has no relationship to any duty of

 the House.    Nor does it establish any duty of the any individual House Member as the

 opportunity to observe is an institutional one, not an individual one.

       3. 12th Amendment.

       The 12th Amendment states in relevant part:

       The Electors shall meet in their respective states and vote by ballot for President and
       Vice-President, one of whom, at least, shall not be an inhabitant of the same state with
       themselves; they shall name in their ballots the person voted for as President, and in
       distinct ballots the person voted for as Vice-President, and they shall make distinct lists
       of all persons voted for as President, and of all persons voted for as Vice-President, and
       of the number of votes for each, which lists they shall sign and certify, and transmit
       sealed to the seat of the government of the United States, directed to the President of the
       Senate;–the President of the Senate shall, in the presence of the Senate and House of
       Representatives, open all the certificates and the votes shall then be counted;–The person
       having the greatest number of votes for President, shall be the President, if such number
       be a majority of the whole number of Electors appointed; and if no person have such
       majority, then from the persons having the highest numbers not exceeding three on the
       list of those voted for as President, the House of Representatives shall choose
       immediately, by ballot, the President. But in choosing the President, the votes shall be
       taken by states, the representation from each state having one vote; a quorum for this
       purpose shall consist of a member or members from two-thirds of the states, and a
       majority of all the states shall be necessary to a choice.

       The scope of this Amendment is the same as Article II. No individual duty is extended to

any individual member of the House.        The opportunity to observe is an institutional one.

Moreover, there are no allegations that the count did not result in a winner which would have



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triggered a vote in the House to choose the next President. This is not alleged. This did not

occur. This is not applicable.

       4. No Plaintiffs are Granted any Constitutional Duty In Their Personal Capacity.

       In response to this complaint, defendant Oath Keepers has filed a Motion to Dismiss

under Fed. R. Civ. P. 12(b)(1) for lack of standing, and under Fed. R. Civ. P. 12(b)(6) for failure

to state a claim. No plaintiff in their personal capacity has standing to assert an official duty or

right “to discharge [his or her] constitutional duty to observe and approve the votes cast by

members of the Electoral College.” Nor does any plaintiff enjoy any Constitutional prerogative

“to discharge [his or her] duties of tallying ballots of the Electoral College and certifying the

results . . . .” (Doc. 11.1, paras. 11-21). Not even Members in their official capacity have such

Constitutional standing. Plaintiffs have plead no such actual Constitutional authorization and

merely throwing in a citation to Article II, section 1 or the 12th Amendment is insufficient.

       5. No individual Member of the House of Representatives has any Constitutional
       Duty to vote, Tally or Count Electoral Certifications.

       Moreover, no provision of Article II, section 1, or the 12th Amendment established any

constitutional duty of the types alleged by the plaintiffs. Neither provision imposes a duty upon

any individual Members “to observe and approve the votes cast by members of the Electoral

College.” Neither establishes any duty of any individual Members “of tallying ballots of the

Electoral College and certifying the results.” All obligations of these provisions fall on the

President of the Senate. No Plaintiff has alleged that he or she was then the President of the

Senate. The only opportunity described (not even a duty) is the opportunity to observe the vote.

This falls far short of section 1985’s requirement that a duty be established by law incumbent

upon any plaintiff.




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       6. The Constitutional Involvement Prescribed Pertains to The House Of Representatives
       as an Institution, not of its members.

       “The President of the Senate shall, in the presence of the Senate and House of

Representatives, open all the certificates and the votes shall then be counted.” U.S. Const., 12th

Amend. As noted, the only constitutional involvement of the House of Representatives qua

House of Representative is to observe the certificates being opened and counted in the presence

“of the House of Representatives.”       No constitutional provision states that any individual

Member of the House has a duty to be present. No constitutional provision states that any

individual Member of the House has a Constitutional duty to count, tally, or certify anything. No

constitutional provision states that any individual Member of the House has a Constitutional duty

to count or certify anything in their personal capacity.

       The 12th amendment only speaks in terms of observation by the House as an institution.

It speaks of no duty of the House or any of its members as plead in the complaint. 1 The duty of

the President of the Senate is to open the certifications and count them in the presence of the

House of Representatives—that distinct body identified in Article 1, section 1 (All legislative

powers herein granted shall be vested in a Congress of the United States, which shall consist of a

Senate and House of Representatives.) Nothing in the Amendment describes a duty pertaining to

any individual House member. It merely specifies that the House as a district institution must be

present. There is no allegation that the House of Representative was not present.

1
   The 12th Amendment only has one provision that involves the House in counting votes.
Plaintiffs, however, never allege the application of this contingency. “The person having the
greatest number of votes for President, shall be the President, if such number be a majority of the
whole number of Electors appointed; and if no person have such majority, then from the persons
having the highest numbers not exceeding three on the list of those voted for as President, the
House of Representatives shall choose immediately, by ballot, the President. But in choosing the
President, the votes shall be taken by states, the representation from each state having one vote; a
quorum for this purpose shall consist of a member or members from two-thirds of the states, and
a majority of all the states shall be necessary to a choice.”
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        7. The Complaint alleges that the Joint Session Stood In Recess Because Of A
        Challenge To The Vote, Not Because Of Any Defendants’ Conduct.

        The complaint alleges that the House was present in a joint session on January 6, 2021, at

1 pm. It is alleged that the Joint Session was recessed by Congress itself due to an objection to

the count, and that the plaintiffs were waiting to reconvene, some returning to their office, some

remaining on the Floor or the House or Gallery of the House. According to the Complaint,

Congress recessed for this internal reason, not because of the alleged attack. (Doc. 11-1, paras.

238, 238, 243 and 244). Allegations that plaintiffs were “delayed” in their duty are clarified in

the complaint to mean they were delayed by the action of the Congress itself to deal with

challenges to the Electoral College certifications. This set of facts as alleged fails to state a claim

upon which relief can be granted as the delay was occasioned by Congress, not defendants.

        Plaintiffs also allege that they were all “present in” or “present at” the Capitol on January

6, 2021. (Doc. 11.1, paras. 11-21.) Taken in its best light, plaintiffs’ complaint therefore admits

that which is constitutionally required—i.e., not only was the House of Representatives as a body

present by and through the Speaker of the House, but even the plaintiffs admit factually they

were present in some official capacity at the appointed day and hour (even though they bring

their suit in their personal capacity).

        Plaintiffs further allege that each member in his or her personal capacity were delayed,

but this states no constitutional violation as a matter of law because the Constitutional provisions

asserted in the complaint do not speak to or address delay of the proceeding. The allegedly

violated constitutional provisions make no reference to delay and have no timing component

applicable here. As also noted, Representative Jerrold Nadler alleges that the Joint Session was

in recess because “an objection was made to the counting of the certified Electoral College




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ballots” and he returned to his office waiting for the “joint session of Congress to be

reconvened.” (Doc. 11-1, para. 239).

        In summary, the plaintiffs complaint 1) alleges violation of certain constitutional

provisions which do not support their claims, 2) express no individual duty of any House

member or duty of the House itself, 3) merely require the House as an institution be present to

observe the duties Constitutionally assigned to the President of the Senate, 4) admit the House as

an institution was in fact present; 5) admit that the joint Session stood in recess on its own accord

to deal with a challenged vote, and 6) no constitutional provision addresses timetable or delay in

regard to the proceeding. As such plaintiffs in their personal or even official capacity have failed

to state a constitutional claim that comes within the scope of section 1985(1). That section

requires the existence of a legal duty. The Constitutional provisions cited present no duty. The

opportunity they do present is not an individual one but rather an institutional one only. A

complaint's “mere conclusory statements” need not be accepted as true, nor its statements of law,

including unsupported Constitutional references. The complaint should be dismissed.

     B. PLAINTIFFS’ ALLEGATIONS ARE SPECULATIVE AND CONCLUSORY,
AND LACK SUFFICIENT FACTS TO PLAUSIBLY ENTITLE THEM TO RELIEF.

        To survive a motion to dismiss for failure to state a claim under Rule 12(b)(6), a

complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face. The claim at issue must rise “above the speculative level.” A complaint's

“mere conclusory statements” need not be accepted as true, nor its statements of law, including

threadbare recitals of the elements of a cause of action. Likewise, a court need not accept a

plaintiff’s legal conclusions, even if they are dressed up as factual allegations. Plaintiffs are

required to plead the “essential element” of the statute in a non-conclusory manner. Anything

less will not do.

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       1. Plaintiffs Failed To Plead The Essential Elements Of 42 USC 1985(1).

       Plaintiffs’ complaint referenced 42 USC 1985 five times. All but one reference are

merely perfunctory. The Act addresses those who conspire to prevent, by force, intimidation, or

threat, any person holding any office, trust, or place of confidence under the United States from

discharging any duties thereof; or to induce by like means any officer of the United States to

leave any place where his duties as an officer are required to be performed, or to molest,

interrupt, hinder, or impede him in the discharge of his official duties.

       Only in paragraph 261 after quoting the statute do the plaintiffs then allege: “261.

Defendants Trump, Giuliani, Proud Boys and Oath Keepers plotted, coordinated, and executed a

common plan to prevent Congress from discharging its official duties in certifying the results of

the presidential election.” This allegation is merely conclusory. It identified no duty.       It

identified no duty constitutionally imposed. It identifies no duty upon any plaintiff in their

personal capacity.    It references Congress but plaintiffs are not Congress.    It references a

common plan, but does not allege that the plan was built on force to deprive plaintiffs of any

legal duty. The plaintiffs have not plead the essential elements of the statute except in a

conclusory manner. They may have discussed the elements somewhere else in their complaint

but they do not plead these elements by any reference to section 1985(1), nor even when stating

their sole cause of action beginning in paragraph 259. This includes their conclusory allegations

in paragraphs 1-3.

       2. Plaintiffs Failed To State a Violation of 42 USC 1985(1) Against
       Oath Keepers.

       Looking through the balance of the complaint’s allegations against Oath Keepers does

not overcome this shortcoming. In 13 separate paragraphs, plaintiffs specifically identify Oath

Keepers by name. Each of these paragraphs is speculative and conclusory, or lack sufficient

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facts to plausibly entitle plaintiffs to relief. Paragraph 14 for instance simply alleges that

defendants conspired to incite an assembled crowd to march upon and enter the Capitol in order

to disrupt the approval “by Congress of the count of votes cast by members of the Electoral

College as required by Article II, Section 1 and the Twelfth Amendment of the United States

Constitution.”

        As already discussed in the preceding section, nothing in Article 2 or the 12th

Amendment empowers Congress to count the votes. These matters are extended to the President

of the Senate with both Houses present. The Constitution prescribes no duty for any House

member to perform and certainly not in any personal capacity. Nor does it command any specific

member to be present, let alone these plaintiffs. Nor does the Constitution require any member

of the House to approve any vote. The Constitution designates the House as a corporate body to

be present without regard to the whereabouts of any individual member, to witness or observe

the counting. Thus, by referencing the Constitutional provisions in their complaint, but never

articulating exactly what they say or what they require, or even noting any particular duties based

upon the text, the conclusion is inevitable that such reference is merely conclusory. It is also

speculative because it fails to articulate any actual constitutional basis for the claim.

        The same can be said of paragraph 6 which alleges that defendant Oath Keepers,

“through their leadership, acted in concert to spearhead the assault on the Capitol while the angry

mob that Defendants Trump and Giuliani incited descended on the Capitol.” References to

leadership are hardly factually specific. They are too general to have any specific meaning.

Likewise references to mobs and incitement are conclusory. These are all speculative and lack

sufficient factual detail to be pled sufficiently.




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       So too paragraph 28 which does nothing other than slander Oath Keepers calling it a

militia organization located in Nevada. This is the “identification of defendants” section of the

pleading and is simply irrelevant to establishing any specific factual.

       Paragraph 54 declares that an unknown Oath Keepers leader made statements to

President Donald Trump and that President Trump tweeted his support in response. All details

about what was said are not provided. There are no details about who said it or in what capacity

the speaker spoke. There is no indication of who the speaker was or how he or she was a

“leader” of Oath Keepers and not just some person. It alleges no violation of any act or law or

constitutional right of the plaintiffs. The same generalizations can be seen in paragraph 63 with

its additional reference to an “Oath Keepers leader” and a Facebook posting declaring an intent

to travel to the District with a plan. This could be said of every elementary school trip—they all

come with a plan. What that plan is, is unstated. Who the leader is, is unstated. What the leader

is actually proposing is left to speculation and the imagination.

       Paragraph 71 alleges that Oath Keepers agreed to be security for a non-party Roger

Stone. This allegation has no relationship to plaintiffs’ allegations. Paragraph 72 alleges that

Oath Keeper flocked to Washington DC urged on by the President. This is hardly a novel claim

that persons would come to Washington DC. The vague claim that “Oath Keepers” flocked to

the Capitol neglects to identify a single Oath Keeper by name. Were they members? Were they

corporate officers? Were they there by an on behalf of the organization? It neglects to identify

that any person at the Capitol was a member of Oath Keepers. It neglects to identify any leader

by name, of Oath Keepers. It neglects to identify how it concluded that people by the name of

Oath Keepers, came to the Capitol. It neglects to identify any of these things for the obvious




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reason that the allegations are based on news reports and other third and fourth hand accounts of

what went on.

       Pleading should be based on personal knowledge and if not, then upon information and

belief stated as such. They must comply with Federal Rules of Civil Procedure 11 that the

allegations are based of the person's knowledge, information, and belief, formed after an inquiry

reasonable under the circumstances, rather than what might have been printed in the newspaper.

In any event, these paragraphs and others like it lack any details about the organization Oath

Keepers who is named defendant. They lack any allegation that Oath Keepers (as an entity that

may sue and be sued), directed or controlled anyone to do anything at any time. The complaint

lacks any kind of allegation that the corporate defendant Oath Keepers undertook some action

officially or sent any members as its representative to the District, or the Capitol, or the House

chamber.

       To keep it all in perspective if plaintiffs had alleged that members of the NAACP were

present in the District of Colombia or at the Capitol, would that be enough facts to conclude that

plaintiffs had met their burden to state a claim against the NAACP corporation itself. Would it

meet the pleading threshold that their unidentified members were planning “insurrection” on

behalf of that organization? Recall that plaintiffs have alleged in paragraph 28 that Oath Keeper

members “are comprised of current and former military and law enforcement officers.”         This

allegation standing alone would no more implicate any law enforcement organization simply

because there current employee traveled to the District of Columbia on January 6, 2021 for

lawful or lawless purposes. Nor would it be enough to implicate each branch of the US military

and try to hold them accountable for their “members” traveling to the District or Capitol on that

date for better or for worse.



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       Yet, that is precisely what the plaintiffs allege in their complaint. They alleged

generically that “Oath Keepers” did this and that and showed up here and said these things, and

planned and plotted to stop the vote. They alleged that unknown members did and said these

things. But all these allegations are conclusory as to the organization, the named defendant. As

to this defendant the allegations are speculating that its “members” or people claiming to act on

its behalf traveled to the District and proceeded to the Capitol. Allegations of membership are

not enough. Nor are self-declared allegations that unknown and unnamed persons acted on behalf

of Oath Keepers enough to plead with sufficiency. These are not enough to bind the Corporation

or to impute liability to the Corporation as a matter of law. They are not enough to state a claim

that the corporation can understand just who are we talking about.

       Paragraph 126 is another example of this effort to impute to the Corporation the acts of

individuals. It alleges that “members of Defendant Oath Keepers wore paramilitary equipment,

helmets, reinforced vests and clothing with Oath Keepers paraphernalia.” That these things were

worn is taken as true. What is disputed is that this allegation is declaring that because someone

wore an Oath Keeper patch or paraphernalia they must be a member of Oath Keepers. What is

being disputed as failing to state a claim and what is speculative about the assertion is that

someone who wore Oath Keeper paraphernalia is ipso facto acting on behalf of Oath Keepers.

This is like saying that someone who shows up in an army jacket is representing the Army. This

is like saying that someone who shows up in a T-shirt that says “United States Marines” is

representing and is authorized to represent the Marine Corps and all actions taken by the person

with a T-shirt are actions on behalf of the Marine Corps merely by wearing a T-shirt. Articles of

clothing do not signify membership or approval of an organization. They do not signify agency.



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They do not signify action on behalf of the corporation. The implication that they do is

speculative and conclusory.

        Paragraphs 127 through 130 come a little closer to meeting the pleading standards but yet

still fall short. Each of these allegations turns on the implication that Thomas Caldwell was a

member of Oath Keepers and also a leader that was somehow authorized to speak and act on

behalf of Oath Keepers. While normally Rule 12(b)(6) motions are taken on the pleadings,

defense counsel would observe that this court’s ruling in United States of America v. Thomas

Caldwell, CR No. 21-28, is controlling here as a matter of law. The Court may also consider

materials outside the pleadings in deciding whether to grant a motion to dismiss for lack of

jurisdiction.

        In that case during a hearing held on March 12, 2021, the issue regarding Thomas

Caldwell’s representation of Oath Keepers as well as his presence at the Capitol was discussed

and decided. During oral argument this court stated: [T]there is an absence of evidence of --

direct evidence at least of planning violence by Mr. Caldwell to enter the Capitol building. There

are no text messages, communications by him that speak to actually entering the building or

trying to enter the building. And ultimately, he did not enter the building.” (Transcript Of Status

Conference/Arraignment Via Videoconference Proceedings Before The Honorable Amit P.

Mehta, United States District Judge, p. 50). Mr. David William Fischer, Sr., counsel for Mr.

Caldwell had previously argued that: “As the government conceded, there is no evidence in these

interactions between Oath Keepers, the national leaders, the state leaders, the membership of any

indication of a plan to stop the election or to invade the Capitol.” (Hearing Transcript. 23).




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The Government conceded the absence of evidence of interactions between Oath Keepers and

Thomas Caldwell. The Court also found the lack of evidence that He entered the Capitol. If he

did not represent Oath Keepers, was not a member or leader, and did not enter the Capitol, then

no set of facts can established the allegation that he, on behalf of Oath Keepers or at its direction

caused the delay alleged by the plaintiffs and their complaint in connection with their alleged

duty to vote. Thomas Caldwell is the only individual named by the plaintiffs and specifically

identified as being affiliated with and the leader of Oath Keepers. Yet, Counsel submits this

Court knows otherwise as a matter of law.

       This court has already found no direct evidence that Caldwell entered into the Capitol and

it also appears that the government has conceded he is not connected to Oath Keepers itself.

Thus, allegations implying the contrary need not be taken at face value or accepted by the court.

As to the other allegations, all failed to identify any other person by name as a leader or agent of

Oath Keepers.     These allegations are merely conclusory to the extent they implicate Oath

Keepers the defendant. As such plaintiffs failed to state a claim upon which relief can be granted

against the corporate defendant Oath Keepers when alleging Caldwell was a leader. Plaintiffs’

complaint should be dismissed.

     C. PLAINTIFFS LACK STANDING TO ALLEGE DEPRIVATION OF THEIR
OFFICIAL DUTIES IN ARTICLE II, SECTION 1 AND THE 12TH AMENDMENT,
WHEN THEY SUE EXCLUSIVELY IN THEIR PERSONAL CAPACITY.

           1. Plaintiffs lack Standing under Article III, § 2 of the U.S. Constitution to sue in
           their personal capacity.

   Article III, § 2, of the Constitution extends jurisdiction to the federal courts to a “case” or

“controversy.” This is a “bedrock requirement.” Valley Forge Christian College v. Americans

United for Separation of Church and State, Inc., 454 U.S. 464, 471, 102 S.Ct. 752, 758, 70

L.Ed.2d 700 (1982). In Simon v. Eastern Ky. Welfare Rights Organization, 426 U.S. 26, 37, 96

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S.Ct. 1917, 1924, 48 L.Ed.2d 450 (1976), the Supreme Court observed: “No principle is more

fundamental to the judiciary's proper role in our system of government than the constitutional

limitation of federal-court jurisdiction to actual cases or controversies.” Raines v Byrd, 521 US

811, 818–19; 117 S Ct 2312, 2317; 138 L Ed 2d 849 (1997).

   One element of the case-or-controversy requirement is that plaintiffs, based on their

complaint, must establish that they have standing to sue. Lujan v. Defenders of Wildlife, 504

U.S. 555, 561, 112 S.Ct. 2130, 2136–2137, 119 L.Ed.2d 351 (1992) (plaintiff bears burden of

establishing standing). The standing inquiry focuses on whether the plaintiff is the proper party

to bring this suit, Simon, supra, at 38, 96 S.Ct., at 1924, although that inquiry “often turns on the

nature and source of the claim asserted,” Warth v. Seldin, 422 U.S. 490, 500, 95 S.Ct. 2197,

2206, 45 L.Ed.2d 343 (1975). To meet the standing requirements of Article III, “[a] plaintiff

must allege personal injury fairly traceable to the defendant's allegedly unlawful conduct and

likely to be redressed by the requested relief.” Allen v. Wright, 468 U.S. 737, 751, 104 S.Ct.

3315, 3324, 82 L.Ed.2d 556 (1984) (emphasis added), abrogated on other grounds by Lexmark

Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014).

   For Rule 12(b)(1) purposes, the italicized words in the quotation from Allen are the key ones.

Courts have consistently stressed that a plaintiff's complaint must establish that a “stake” in the

alleged dispute, and that the alleged injury suffered is particularized as to plaintiff.

See, e.g., Lujan, supra, at 560–561, and n. 1, 112 S.Ct., at 2136, and n. 1 (to have standing, the

plaintiff must have suffered a “particularized” injury, which means that “the injury must affect

the plaintiff in a personal and individual way”); Bender v. Williamsport Area School Dist., 475

U.S. 534, 543–544, 106 S.Ct. 1326, 1332, 89 L.Ed.2d 501 (1986) (school board member who

“has no personal stake in the outcome of the litigation” has no standing); Simon, supra, at 39, 96



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S.Ct., at 1925 (“The necessity that the plaintiff who seeks to invoke judicial power stand to profit

in some personal interest remains an Art. III requirement.”)

        Therefore, to cross the standing threshold, a litigant must show (1) a concrete and

particularized injury, that (2) is fairly traceable to the challenged conduct, and (3) is likely to be

redressed by a favorable decision. Hollingsworth v. Perry, 570 U. S. 693, 704 (2013).

        In Virginia House of Delegates v Bethune-Hill, 587 U.S. ____,139 S Ct 1945, 1953–54;

204 L Ed 2d 305 (2019), the Virginia House of Delegates and its Speaker intervened as

defendants, after Virginia redrew legislative districts for the State’s Senate and House of

Delegates based on the 2010 census. Voters in 12 impacted House districts sued two state

agencies and four election officials charging that the redrawn districts were racially

gerrymandered in violation of the Fourteenth Amendment’s Equal Protection Clause. The House

and Speaker intervened to defend the redrawn districts. Their standing was challenged. The

Supreme Court held that the House and speaker lacked standing to represent the government’s

interests. “Just as individual members lack standing to assert the institutional interests of a

legislature, see Raines, 521 U.S. at 829, 117 S.Ct. 2312, a single House of a bicameral legislature

lacks capacity to assert interests belonging to the legislature as a whole.” 587 U.S.___, Slip Op.

p. 8.

        In the instant case, the eleven House plaintiffs do not allege they represent the House of

Representative. Nor do they allege they are authorized by the House to represent it. Nor do they

allege that they represent the U.S. Senate or that the Senate has authorized them to represent that

body. Nor do the plaintiffs allege that they represent the United States Congress or that Congress

has authorized them to represent the Congress. What they do allege is that they have standing to

bring their complaint in their personal capacity. But, just as individual members in Virginia



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House of Delegates lack standing to assert any institutional interests, so too plaintiffs lack

standing to assert any institutional interest of the House of Representatives.

       The only relevant Constitutional clauses identified in plaintiffs’ amended complaint (Doc

11-1, p. 6, para. 1) are Article 2, section 1 of the Constitution and the 12th Amendment. As our

prior Constitutional analysis demonstrates, the Constitutional interest in the 12th Amendment is

an institutional one, not an individual one, i.e., “[T]he President of the Senate shall, in the

presence of the Senate and House of Representatives, open all the certificates and the votes shall

then be counted.” The Electors themselves are chosen well in advance. 2 Plaintiffs’ lack standing

to allege a conspiracy to interfere with Congress’ Article 2, section 1 power or 12th Amendment

power precisely because these powers are not individual but institutional. Even were plaintiffs to

sue in their institutional capacity they could not represent the institution of the House of

Representatives. Plaintiffs have failed to allege that they are authorized by the House to bring

this action and in fact have chosen to proceed as individual persons. No Constitutional provision

empowers individual persons to take any action whatsoever in connection with a vote of electors.

       According to statute, the date for the President of the Senate to count the votes is January

6, 2021, a date also set by law. At that time a Joint Session of Congress to Count Electoral Votes

and Declare Election Results meets. The Senate and House of Representatives assemble at 1:00

p.m. in a joint session at the Capitol, in the House chamber, and the President of the Senate

opens and counts the electoral votes and declare the results (See 3 U.S.C. §15). The Vice

President presides as President of the Senate. The Vice President opens the certificates and

presents them to four tellers, two from each chamber. The tellers read and make a list of the



2
  3 U.S. Code § 1 “The electors of President and Vice President shall be appointed, in each
State, on the Tuesday next after the first Monday in November, in every fourth year succeeding
every election of a President and Vice President.” (June 25, 1948, ch. 644, 62 Stat. 672.
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returns. When the votes have been ascertained and counted, the tellers transmit them to the Vice

President. If one of the tickets has received a majority of 270 or more electoral votes, the Vice

President announces the results, which “shall be deemed a sufficient declaration of the persons, if

any, elected President and Vice President.” 3

       What duty of plaintiffs exactly is alleged to have been prevented or hindered? The

statute articulates a duty incumbent upon the “President of the Senate” to open all the certificates

and the votes. No plaintiff has alleged he or she is the President of the Senate. The statute

requires the Vice President to open the certificates and presents them to four tellers, two from

each chamber. Plaintiffs’ amended complaint states no allegation that any plaintiff is the Vice

President of the United States. Nor does the complaint allege that any plaintiff was appointed a

teller from either House. In fact, the amended complaint fails to allege a violation of any statute

whatsoever.

       Nor does the amended complaint allege that any plaintiff either sought to file

“objections” as provided for in 3 U.S.C. sec. 15. There is no allegation that any plaintiff ever

challenged or contested the electors or challenged the election of either President Joe Biden or

Vice President Kamala Harris. Nor is the statutory recognition of the right to object a “duty” the

performance of which may not be interfere with by two or more persons by force as per 42 USC

1985(1).

       All of the foregoing underscores the fact that plaintiffs have no standing under the

Constitution and no standing under any statute (which they failed to plead) or which they may

argue a non-futile amendment may cure. Therefore, plaintiffs fail to cross the pleading threshold.

They alleged no concrete or particularized injury to themselves in their personal capacity. The
3
  See Congressional Research Service, Update October 22, 2020, The Electoral College: A 2020
Presidential Election Timeline. https://crsreports.congress.gov/product/pdf/IF/IF11641

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injury they allege in their personal capacity being a delay in their vote on the Electoral College

certifications is not traceable to the constitution. Thus, no favorable proceeding can ever remedy

their claim of personal wrong.

       2. Plaintiffs Lack Standing As House Members Suing In Their Personal
       Capacity, as they Have No Personalized Stake In The Outcome Of The Litigation.

       The Virginia House of Delegates Court also cited to its prior decision in Raines v. Byrd,

521 U. S. 811, 819 (1997) as authoritative. In that case six Members of Congress, four of whom

served as Senators and two of whom served as Congressmen in the 104th Congress (1995-1996)

challenged the constitutionality of the Line Item Veto Act (Act). Pub.L. 104-130, 110 Stat. 1200,

codified at 2 U.S.C.A. §691 et seq. (Supp.1997). The Act went into effect on January 1, 1997.

See Pub.L. 104-130, §5. They filed a complaint in the District Court for the District of Columbia.

The Supreme Court ultimately found that the House and Speaker “have alleged no injury to

themselves as individuals.” It noted that “the institutional injury they allege is wholly abstract

and widely dispersed and their attempt to litigate this dispute at this time and in this form is

contrary to historical experience.” 521 U.S. at 829. The court further observed that: “We attach

some importance to the fact that appellees have not been authorized to represent their respective

Houses of Congress in this action, and indeed both Houses actively oppose their suit.” Id.

       The Court concluded “that these individual members of Congress do not have a sufficient

‘personal stake’ in this dispute and have not alleged a sufficiently concrete injury to have

established Article III standing.” Id. at 830. Likewise in the instant case, none of the plaintiffs

have alleged any injury to themselves as individuals which is constitutionally established. The

Constitution establishes no right of a plaintiff in his or her personal capacity to participate in, or

observe the President of the Senate as he performs his obligations under law. Moreover, it

establishes no right of the plaintiffs as a member to participate in or observe the President of the

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Senate as he performs his obligations under law. For the reasons stated in Raines, plaintiffs here

lacked standing because they have no personal stake in this dispute. They have no personal stake

in vindicating a claim to sue in their personal capacity.

        3. Plaintiffs Lack Standing Because As Members Suing In Their Personal
        Capacity, They Have no institutionalized Injury shared by the House of
        Representatives.

        Plaintiffs will no doubt argue that a line of cases does permit an individual member of the

legislature to sue in order to vindicate some individual right. For instance in Maloney v Murphy,

984 F3d 50, 62–63; 450 US App DC 261 (2020), the court observed that “In addition, in

analyzing the standing of legislators, cases have traditionally asked whether the asserted injury is

“institutional” or “personal.” An institutional injury is one that belongs to the legislative body of

which the legislator is a member. See Arizona State Legislature v. Arizona Indep. Redistricting

Comm'n, 576 U.S. 787, 135 S. Ct. 2652, 2664, 192 L.Ed.2d 704 (2015) (The Arizona Legislature

was an institutional plaintiff asserting an institutional injury); see also Bethune-Hill, 139 S. Ct. at

1953    (“[I]ndividual members lack standing to         assert   the   institutional   interests   of   a

legislature[.]”). Such institutional injuries afflict the interests of the legislature as an entity; they

do not have a distinct personal, particularized effect on individual legislators.

        A personal injury, by contrast, refers to an injury suffered directly by the individual

legislators to a right that they themselves individually hold. A personal injury to a legislator, for

Article III purposes, is not limited to injuries suffered in a purely private capacity, wholly

divorced from their occupation. Rather, in the context of legislator lawsuits, an injury is also

“personal” if it harms the legal rights of the individual legislator, as distinct from injuries to the

institution in which they work or to legislators as a body. See Powell v. McCormack, 395 U.S.

486, 493, 89 S.Ct. 1944, 23 L.Ed.2d 491 (1969) (reviewing legislator's claim that he was



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inappropriately barred from taking his seat and from receiving his pay); see also Kerr v.

Hickenlooper, 824 F.3d 1207, 1216 (10th Cir. 2016) (stating that, if a subset of legislators was

barred from voting, members of the subset “could claim a personal injury”); cf. Coleman v.

Miller, 307 U.S. 433, 438, 59 S.Ct. 972, 83 L.Ed. 1385 (1939) (although asserting an

institutional injury, legislators had standing because their individual “votes * * * ha[d] been

overridden and virtually held for naught”).”

        Despite this narrow concept of individual standing, plaintiffs must still allege that the

constitutional provisions to which they point actually provide them any similar individual

authority. The Constitution, however, does not identify any right which they themselves

individually hold. No legislative representative has an individual right or duty to vote concerning

the Electoral College as plaintiffs failed to allege that the certifications did not result in the

election of the President and Vice President. The constitutional duty pertains to the House of

Representatives solely in its institutional capacity. Plaintiffs have no individual duty to do

anything under the Constitution. The Constitution merely provides that the House of

Representatives as an institution shall observe the opening of the certifications and counting of

the ballots. This is not an individual right in any sense of the text.

        Thus, at the end of the day while the case law does discuss some application of an

individual legislators rights, as a matter of constitutional law within the four corners of the

complaint no such similar right exists in any legislator who is a member of the House of

Representatives or has been pled.

        4. Individual Members Of The Congress Lack Standing To Assert The
        Institutional Interests of a Legislature.

        The recent decision in Blumenthal v Trump, 949 F3d 14, 18–20; 445 US App DC 169,

173–75, cert den 141 S Ct 553; 208 L Ed 2d 175 (2020), involving Congress and foreign

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emoluments is also instructive. The Court of Appeals for the District of Columbia held that

“This case is really no different from Raines. The Members were not singled out—their alleged

injury is shared by the other 320 members of the Congress who did not join the lawsuit—and

their claim is based entirely on the loss of political power.”

       The Court first affirmed the holdings in Raines and in Va. House of Delegates: “The

Supreme Court’s recent summary reading of Raines that “individual members” of the Congress

“lack standing to assert the institutional interests of a legislature” in the same way “a single

House of a bicameral legislature lacks capacity to assert interests belonging to the legislature as a

whole,” Va. House of Delegates v. Bethune-Hill, 139 S.Ct. 1945, 1953–54(2019),” leaves no

“doubt regarding the Members’ lack of standing.”

       The Appeals Court then applied that holding to the case before it. “After Raines and

Bethune-Hill, only an institution can assert an institutional injury provided the injury is not

“wholly abstract and widely dispersed.” Raines, 521 U.S. at 829.” This means the instant

Plaintiffs cannot assert an institutional injury on behalf of the House.

       The Appeals Court also referred to United States v. Ballin, 144 U.S. 1, 7, 12 S.Ct. 507, 36

L.Ed. 321 (1892) (“The two houses of [C]ongress are legislative bodies representing larger

constituencies. Power is not vested in any one individual, but in the aggregate of

the members who compose the body[.]”). “Because Raines and Bethune-Hill control this case,

we begin and end our analysis with them.”

       In summary, “individual members” of the Congress “lack standing to assert the

institutional interests of a legislature.” Power is not vested in any one individual, but in the

aggregate of the members who compose the body. The allegations in the complaint taken in

their light most favorable to the nonmoving party does not change the law that individual



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members of Congress such as the plaintiffs here lack standing to assert the institutional interest

which the Constitution grants exclusively to the House of Representatives. As such power is not

vested in any plaintiff but rather in the aggregate being the House itself as an institution.

Therefore, plaintiffs fail to meet the standing requirements and their suit must be dismissed

under Fed.R.Civ. Pro. 12 (b)(1).

       D. PLAINTIFFS FAIL TO STATE A CLAIM FOR RELIEF UNDER 42 USC §
1985(1), BECAUSE THE CONSTITUTIONAL TEXT THEY PURPORT TO RELY
UPON SUPPORTS ONLY AN INSTITUTIONAL RIGHT IN THE HOUSE OF
REPRESENTATIVES, NOT A POWER VESTED IN INDIVIDUAL MEMBERS.

       Recall that 42 U.S.C. § 1985 does not create any substantive rights, but only permits a

private cause of action to sue for conspiracy to violate a federal right. Nanko Shipping, USA v.

Alcoa, Inc., 107 F. Supp. 3d 174, 182 (D.D.C. 2015), rev'd and remanded on other grounds, 850

F.3d 461 (D.C. Cir. 2017) (citing United Bhd. of Carpenters & Joiners, 463 U.S. 825, 833, 103

S.Ct. 3352, 77 L.Ed.2d 1049 (1983) (other citations omitted). As such, § 1985 “serve[s] as a

device through which vicarious liability for the underlying wrong may be imposed upon all who

are a party to it, where the requisite agreement exists among them.” Nanko Shipping, F. Supp. 3d

at 182 (citation omitted)”.      Moreover, the requirement of an invidiously discriminatory

conspiratorial animus, which has been applied to s 1985(3), should be applied to s 1985(1) as

well,” Stern v US Gypsum, Inc, 547 F2d 1329, 1333 (CA 7, 1977). See also McCrea v District of

Columbia, No. 16-CV-0808 (TSC), 2021 WL 1209219, at 17 (DDC, March 31, 2021).

       As previously stated in the foregoing argument, “individual members” of the Congress

“lack standing to assert the institutional interests of a legislature.” Power is not vested in any one

individual, but in the aggregate of the members who compose the body. The allegations in the

complaint taken in their light most favorable to the nonmoving party, establish that plaintiffs

make no claim to act on behalf of the institution being the House of Representatives. They also

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plead as plaintiffs that they are acting in their personal capacity. But even if it were otherwise, no

individual member of the House in any capacity has standing to state a claim on behalf of the

institution which has not authorized it and on behalf of which they do not represent a numerical

majority. Thus, even if plaintiffs alleged facts related to conspiracy or a plan to prevent their

vote, the law itself provides they have no standing to allege such a constitutional violation. But

more importantly, the Constitution itself provides they have no authority in any individual or

personal capacity to do anything in connection with counting the electoral vote. Though

plaintiffs spend a great number of paragraphs and pages describing the conspiracy in great detail,

all of this falls far short of establishing a cause of action if they can point to no constitutional

violation independent of 42 USC 1985(1).

     E. DEFENDANT’S STRONG FIRST AMENDMENT INTERESTS TO SPEAK,
ASSEMBLE AND PETITION THE GOVERNMENT FURTHER FAVORS DISMISSAL
WITH PREJUDICE OF PLAINTIFFS’ CLAIMS.

       The act of petition for a redress of grievances has ancient roots. At the beginning of

recorded history we are told that “the people began to call upon the name of the Lord” to right

grievances against them. Genesis 4:26. This was later codified into a more formal practice of

petition as laid down by the lawgiver Moses during the early period of the Ancient Hebrew

Republic. Exodus 33:7. The right of petition was revived in its English form and stated in

chapter 61 of the Magna Carta (1215). In 1669, the English house Commons further resolved

that every commoner in England possessed “the inherent right to prepare and present petitions”

to it “in case of grievance,” and of Commons “to receive the same” and to judge whether they

were “fit” to be received. Finally Chapter 5 of the Bill of Rights of 1689 asserted the right of the

subjects to petition the King and “all commitments and prosecutions for such petitioning to be




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illegal.” 4 Today, the right of peaceable assembly is, in the language of the Court, “cognate to

those of free speech and free press and is equally fundamental. . . . [It] is one that cannot be

denied without violating those fundamental principles of liberty and justice which lie at the base

of all civil and political institutions,—principles which the Fourteenth Amendment embodies in

the general terms of its due process clause.” The Court also wisely observed that: “The holding

of meetings for peaceable political action cannot be proscribed. Those who assist in the conduct

of such meetings cannot be branded as criminals on that score. The question . . . is whether their

utterances transcend the bounds of the freedom of speech which the Constitution protects.”

DeJonge v. Oregon, 299 U.S. 353, 364, 365 (1937). See also Herndon v. Lowry, 301 U.S. 242

(1937).

          Furthermore, the right of petition has expanded. It is no longer confined to demands for

“a redress of grievances,” in any accurate meaning of these words, but comprehends demands for

an exercise by the government of its powers in furtherance of the interest and prosperity of the

petitioners and of their views on politically contentious matters. 5 The right extends to the

“approach of citizens or groups of them to administrative agencies (which are both creatures of

the legislature, and arms of the executive) and to courts, the third branch of Government.

Certainly the right to petition extends to all departments of the Government especially and

including the House of Representatives, the Senate and the Congress in joint session.

Historically, the right has been expressed in marches upon the Capitol and demands made of

Congress to Act. The instant case presents no case of first impression. For instance, in 1894

General Coxey of Ohio organized armies of unemployed persons to march on Washington and



4
    12 ENCYCLOPEDIA OF THE SOCIAL SCIENCES 98 (1934).
5
    See Eastern R.R. Presidents Conf. v. Noerr Motor Freight, 365 U.S. 127 (1961).
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present petitions, only to see their leaders arrested for unlawfully walking on the grass of the

Capitol.

       The march of WWI Veterans on Washington in 1932 demanding bonus legislation was

defended as an exercise of the right of petition. In the spring and summer of 1932, approximately

45,000 World War I Veterans marched on Washington and camped in unoccupied lands.

Desperate for financial help, they sought early payment of a bonus due in 1945. The members of

the “Bonus Expeditionary Army,” as they called themselves claimed they were exercising their

First Amendment rights to assemble peacefully and petition the Government for “a redress of

grievances.” Fearing violence after Congress denied their request, the Administration called out

the army to expel the marchers, assaulting them with tanks and burned their camps. 6

       “The right of the people peaceably to assemble for the purpose of petitioning Congress

for a redress of grievances, or for anything else connected with the powers or the duties of the

National Government, is an attribute of national citizenship, and, as such, under the protection

of, and guaranteed by, the United States. The very idea of a government, republican in form,

implies a right on the part of its citizens to meet peaceably for consultation in respect to public

affairs and to petition for a redress of grievances.” United States v. Cruikshank, 92 U.S. 542,

552–53 (1876) overruled on other grounds, United States v. Miller, 307 U.S. 174, 59 S.Ct. 816,

83 L.Ed. 1206 (1939).

       In analyzing Plaintiffs’ instant complaint, the inescapable conclusion is that it stigmatizes

with inflammatory language the right of the people present in the District and at the Capitol to

assemble for the purpose of petitioning the government of the United States in connection with


6
  http://recordsofrights.org/events/72/the-bonus-army-march-on-washington
https://www.nps.gov/articles/bonus-expeditionary-forces-march-on-washington.htm


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the Electoral College. It does not matter whether the substance of their petition was accurate or

inaccurate. Nor does it matter whether they planned the petition, organize themselves to attend

the Capitol and present the petition, or in the language of the complaint “conspired” to do any of

the foregoing. What is it root in this lawsuit is the characterization that the right of the people to

exercise their right to peaceably assemble for the purpose of petitioning Congress for redress of

grievances should be subject to a conspiracy law (42 U.S.C. 1985(1) law which effectively

punishes the exercise of a Constitutional right.

         As we have seen, plaintiffs allege that they in their individual and/or personal capacities

had certain duties under the Constitution with which the defendants allegedly interfered with and

conspired to interfere with. Plaintiffs would reduce the right of petitioning to conduct that is not

planned, or conduct that may only be undertaken on a seconds notice, or in an impromptu

fashion. If planning to petition is a conspiracy and insurrection there will be nothing left of the

right.

         Stripped of its inflammatory allegations all that remains of the complaint is the allegation

that the defendants plan to attend a speech of the President in the District of Columbia, that the

defendants planned to march to the Capitol itself, and make known its views to the Congress

regarding the Electoral College and election. Plaintiffs’ additional statements that defendant

Oath Keepers entered the Capitol and attempted to disrupt the actual proceedings fail because

they are conclusory and speculative and in the case of Mr. Caldwell contrary to the holdings of

this court.

         Even assuming the defendant Oak Keepers planned violence as alleged by the plaintiffs

and that violent acts are not a form of protected speech or assembly, there is no allegation that

defendant Oath Keepers engaged in violence or entered the Capitol itself, as further analyzed in



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Section B supra. Those who are present in the conduct of such meetings cannot be branded as

criminals on that score. The question is not as to the auspices under which the Capitol meeting is

held, but as to its purpose; not as to the relations of the speakers, but whether their utterances

transcend the bounds of the freedom of speech which the Constitution protects.

       Taking the complaint in a light most favorable to the nonmoving party the utterances

attributed to unknown persons purportedly acting by or on behalf of defendant Oath Keepers

constitutes protected speech alone. No allegations transcend the bounds of the freedom of speech

which the Constitution protects. To permit this case to proceed and not be dismissed for all the

reasons previously stated would be equivalent to stating a claim against the First Amendment

itself. For these prudential reasons, defendants move this court to dismiss the complaint for

failure to state a claim upon which relief can be granted. Courts ought not entertain claims which

suppress the freedoms protected by the First Amendment of the Constitution, the supreme law of

the land, supreme above 42 USC 1983 as applied here.

       The Constitution does not protect one from violence, but the allegations and holding of

this Court in Caldwell amply demonstrate no Oath Keeper entered the Capitol violently or

otherwise and therefor nothing in the amended complaint reaches to any violent act to physically

prevent the House from observing the Electoral proceedings.            Absent violence, the First

Amendment erects a strong barrier against use of 42 USC 1985(1) to trample down First

Amendment rights.

                                        V. CONCLUSION

       For the reasons stated herein, defendant Oak Keepers prays that this court dismiss the

plaintiffs complaint for lack of standing, failure to state a claim upon which relief can be granted,




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and because it is contrary to our First Amendment freedoms which provide the people the legal

authority to undertake the exact planning and conduct alleged to be a violation of federal statute.

Dated: May 26, 2021.

                                      /s/ Kerry Lee Morgan
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                                 CERTIFICATE OF SERVICE

       On May 26, 2021, I certify that I electronically filed this document with the Clerk of the

Court through the ECF System, which will send notification of such electronic filing to all

counsel of record registered electronically.

                                               /s/ Kerry Lee Morgan
                                               Kerry Lee Morgan, 424566
                                               Pentiuk, Couvreur & Kobiljak, P.C.
                                               Attorneys for Defendant Oath Keepers, Only




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